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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

  In re:                                       §
                                               §       Case No. 23-10164-smr
  ASTRALABS, INC.,                             §
                                               §       Chapter 7
            Debtor.                            §

                NOTICE OF INITIAL HEARING TO CONSIDER
          TRUSTEE’S SECOND MOTION (I) FOR AUTHORITY TO SELL
  DESIGNATED SECURITIES AND WARRANTS, FREE AND CLEAR OF ALL LIENS,
   CLAIMS, AND ENCUMBRANCES; (II) FOR APPROVAL OF NOTICE, SALE, AND
  EXECUTORY CONTRACT PROCEDURES; AND (III) TO SET FINAL HEARING TO
 APPROVE SALE AND GOOD FAITH DESIGNATION TO PREVAILING PURCHASER(S)
                         [Relates to Docket No. 398]

  TO ALL PARTIES IN INTEREST, PLEASE TAKE NOTICE THAT:

            An initial hearing (the “Hearing”) has been scheduled to take place on May 1, 2024, at

  10:30 a.m. (prevailing Central Time) to consider the Trustee’s Second Motion (I) for Authority

  to Sell Designated Securities and Warrants, Free and Clear of All Liens, Claims, and

  Encumbrances; (II) for Approval of Notice, Sale, and Executory Contract Procedures; and (III)

  to Set Final Hearing to Approve Sale and Good Faith Designation to Prevailing Purchaser(s)

  [Docket No. 398]. The Hearing is scheduled to proceed in-person in the court room of Judge

  Shad M. Robinson at the U.S. Bankruptcy Courthouse located at Homer J. Thornberry Federal

  Judicial Building, 903 San Jacinto Boulevard, Third Floor, Courtroom 1, Austin, Texas 78701.

            Prior Court approval through CM/ECF is required to appear by WebEx or by phone for

  this hearing. Additional information on attending the Hearing remotely can be found on the

  Court’s     website:    https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-

  judge.




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  Dated: April 10, 2024                         Respectfully submitted,

                                                       By: /s/ Beverly Bass
                                                         Jay H. Ong
                                                         Texas Bar No. 24028756
                                                         Beverly A. Bass
                                                         Texas Bar No. 24125116
                                                         MUNSCH HARDT KOPF & HARR, P.C.
                                                         1717 West 6th Street, Suite 250
                                                         Austin, Texas 78703
                                                         Telephone: (512) 391-6100
                                                         Facsimile: (512) 391-6149
                                                         Email:       jong@munsch.com
                                                                      bbass@munsch.com

                                                       Counsel for Randolph N. Osherow,
                                                       Chapter 7 Trustee

                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on the 10th day of April 2024, she personally
  caused true and correct copies of the foregoing notice to be served by electronically filing it with
  the Court using the Court’s CM/ECF system, which sent notification to the parties listed on the
  attached matrix.

                                                       By: /s/ Beverly Bass
                                                              Beverly A Bass, Esq.




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